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DETAILED REPORT



April 2020 Coordinated Inauthentic
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We’re constantly working to find and stop coordinated campaigns that seek to manipulate
public debate across our apps. In 2019 alone, we took down over 50 networks worldwide for
engaging in coordinated inauthentic behavior (CIB), including ahead of major democratic
elections.

These efforts are led by a cross-disciplinary team focused on finding and disrupting both the
most sophisticated influence operations aimed to manipulate public debate as well as high
volume inauthentic behaviors like spam and fake engagement. Over the past several years, our
team has grown to over 200 people with expertise ranging from open source research, to
threat investigations, cyber security, law enforcement and national security, investigative
journalism, engineering, product development, data science and academic studies in
disinformation.

You can find more information about our previous enforcement actions​ ​here​.

PURPOSE OF THIS REPORT

Over the past three years, we’ve shared our findings about coordinated inauthentic behavior
we detect and remove from our platforms. As part of regular CIB reports, we’re sharing
information about all networks we take down over the course of a month to make it easier for
people to see progress we’re making in one place.

WHAT IS CIB?

While we investigate and enforce against any type of inauthentic behavior — including fake
engagement, spam and artificial amplification — we approach enforcement against these
mostly financially-motivated activities differently from how we counter foreign interference or
domestic influence operations. We routinely take down less sophisticated, high-volume
inauthentic behaviors like spam and we do not announce these enforcement actions when we
take them.




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We view influence operations as coordinated efforts to manipulate public debate for a strategic
goal where fake accounts are central to the operation. There are two tiers of these activities
that we work to stop: 1) coordinated inauthentic behavior in the context of domestic, non-state
campaigns (CIB) and 2) coordinated inauthentic behavior on behalf of a foreign or government
actor (FGI).

COORDINATED INAUTHENTIC BEHAVIOR (CIB)

When we find domestic, non-government campaigns that include groups of accounts and
Pages seeking to mislead people about who they are and what they are doing while relying on
fake accounts, we remove both inauthentic and authentic accounts, Pages and Groups directly
involved in this activity.

FOREIGN OR GOVERNMENT INTERFERENCE (FGI)

If we find any instances of CIB conducted on behalf of a government entity or by a foreign
actor, we apply the broadest enforcement measures including the removal of every on-platform
property connected to the operation itself and the people and organizations behind it.

CONTINUOUS ENFORCEMENT

We keep to monitor for efforts to re-establish a presence on Facebook by networks we
previously removed for CIB. Using both automated and manual detection, we continuously
remove accounts and Pages connected to networks we took down in the past.

SUMMARY OF APRIL 2020 FINDINGS

This month, we ​removed eight networks of accounts, Pages and Groups​.​ Two of them — from
Russia and Iran — focused internationally (FGI), and the remaining six — in the US, Georgia,
Myanmar and Mauritania — targeted domestic audiences in their respective countries (CIB).
We have shared information about our findings with law enforcement, policymakers and
industry partners.

We know that people looking to mislead others — whether through phishing, scams, or
influence operations — try to leverage crises to advance their goals, and the coronavirus
pandemic is no different. All of the networks we took down for CIB in April were created before



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the COVID-19 pandemic began, however, we’ve seen people behind these campaigns
opportunistically use coronavirus-related posts among many other topics to build an audience
and drive people to their Pages or off-platform sites. The majority of the networks we took
down this month were still trying to grow their audience or had a large portion of engagement
on their Pages generated by their own accounts.

   ●   Total number of Facebook accounts removed: ​732
   ●   Total number of Instagram accounts removed: ​162
   ●   Total number of Pages removed: ​793
   ●   Total number of Groups removed: ​200

NETWORKS REMOVED IN APRIL, 2020:

   1. Russia:​ We removed 46 Pages, 91 Facebook accounts, 2 Groups, and 1 Instagram
       account. This network posted in Russian, English, German, Spanish, French,
       Hungarian, Serbian, Georgian, Indonesian and Farsi, focusing on a wide range of
       regions around the world.​ ​Our investigation linked this activity to individuals in Russia,
       the Donbass region in Ukraine and two media organizations in Crimea — NewsFront
       and SouthFront. We found this network as part of our internal investigation into
       suspected coordinated inauthentic behavior in the region.
   2. Iran:​ We removed 118 Pages, 389 Facebook accounts, 27 Groups, and 6 Instagram
       accounts. This activity originated in Iran and focused on a wide range of countries
       globally including Algeria, Bangladesh, Bosnia, Egypt, Ghana, Libya, Mauritania,
       Morocco, Nigeria, Senegal, Sierra Leone, Somalia, Sudan, Tanzania, Tunisia, the US,
       UK and Zimbabwe. ​Our investigation linked this activity to the Islamic Republic of Iran
       Broadcasting Corporation. We found this network as part of our internal investigations
       into suspected coordinated inauthentic behavior, based in part on som​e links to our
       past takedowns.
   3. US:​ We removed 5 Pages, 20 Facebook accounts, and 6 Groups that originated in the
       US and focused domestically. Our investigation linked this activity to individuals
       associated with the QAnon network known to spread fringe conspiracy theories. We
       found this activity as part of our internal investigations into suspected coordinated
       inauthentic behavior ahead of the 2020 election in the US.




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   4. US:​ We removed 19 Pages, 15 Facebook accounts, and 1 Group that originated in the
       US and focused domestically. ​O​ur investigation linked this network to VDARE, a
       website known for posting anti-immigration content, and individuals associated with a
       similar website The Unz Review. We found this activity as part of our internal
       investigations into suspected coordinated inauthentic behavior ahead of the 2020
       election in the US.
   5. Mauritania: ​We​ removed 11 Pages, 75 Facebook accounts, and 90 Instagram
       accounts. ​This network originated in Mauritania and focused on domestic audiences.
       We detected this operation as a result of our internal investigation into suspected
       coordinated inauthentic behavior linked to our past takedowns.
   6. Myanmar: ​We removed 3 Pages, 18 Facebook accounts, and 1 Group. This
       domestic-focused network originated in Myanmar. ​O​ur investigation linked this activity
       to members of the Myanmar Police Force. We found this network as part of our internal
       investigation into suspected coordinated inauthentic behavior in the region.
   7. Georgia: ​We removed 511 Pages, 101 Facebook accounts, and 122 Groups, and 56
       Instagram accounts. This domestic-focused activity originated in Georgia. Our
       investigation linked this network to Espersona, a media firm in Georgia. This
       organization is now banned from our platforms. We found this activity as part of our
       investigation into suspected coordinated inauthentic behavior publicly reported by a
       local fact-checking organization in Georgia with some links to our past takedown.
   8. Georgia: ​Finally, we removed 23 Facebook accounts, 80 Pages, 41 Groups, and 9
       Instagram accounts. This domestic-focused activity originated in Georgia. Our
       investigation linked this network to individuals associated with United National
       Movement, a political party. We found this activity as part of our investigation into
       suspected coordinated inauthentic behavior in the region. Our assessment benefited
       from local public reporting in Georgia.

We are making progress rooting out this abuse, but as we’ve said before, it’s an ongoing effort.
We’re committed to continually improving to stay ahead. That means building better
technology, hiring more people and working more closely with law enforcement, security
experts and other companies.




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01
We removed 46 Pages, 91 Facebook accounts, 2 Groups, and 1 Instagram
account for violating our policy against​ ​foreign interference​ which is​ ​coordinated
inauthentic behavior​ on behalf of a foreign entity. This activity originated in
Russia, the Donbass region in Ukraine and the Crimean Peninsula. The people
behind it posted in Russian, English, German, Spanish, French, Hungarian,
Serbian, Georgian, Indonesian and Farsi, focusing on a wide range of regions
around the world.

The individuals behind this activity relied on a combination of authentic, duplicate and
fake accounts — many of which had been previously detected and disabled by our
automated systems. They used fake accounts to post their content and manage
Groups and Pages posing as independent news entities in the regions they targeted.
This network posted ​about geopolitical and local news including topics such as the
military conflict in Ukraine, the Syrian civil war, the annexation of Crimea, NATO, US
elections, and more recently the coronavirus pandemic​. ​Our investigation linked this
activity to individuals in Russia and Donbass, and two media organizations in Crimea
— NewsFront and SouthFront.

We found this network as part of our internal investigation into suspected coordinated
inauthentic behavior in the region​.

   ●   Presence on Facebook and Instagram:​ 46 Pages, 91 accounts, 2 Groups, and 1
       Instagram account
   ●   Followers: A
                  ​ bout 267,300 accounts followed one or more of these Pages, about 2,100
       accounts joined one or more of these Groups, and around 800 people followed this
       Instagram account




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   ●   Advertising:​ About $3,150 in spending for ads on Facebook and Instagram paid for
       primarily in US dollars, Russian rubles, and Euros.




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Below is a sample of the content posted by some of these Pages:




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                                                     Page name:​ ​Office of Soviet Information
                                                     Post: ​Trump Government's aggression
                                                     violates US-Cuban relations.

                                                     The aggression of the current US government
                                                     threatens to reverse the process of
                                                     rapprochement with Cuba, which began five
                                                     years ago today with the restoration of
                                                     diplomatic relations between the two
                                                     countries.

                                                     Even within the United States itself, opinion
                                                     polls reflect that much of its population favors
                                                     the existence of diplomatic relations and the
                                                     removal of the blockade.”




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02
We also removed 118 Pages, 389 Facebook accounts, 27 Groups, and 6
Instagram accounts that were involved in​ ​foreign interference​ which is
coordinated inauthentic behavior​ on behalf of a foreign entity. This activity
originated in Iran and focused on a wide range of countries globally including
Algeria, Bangladesh, Bosnia, Egypt, Ghana, Libya, Mauritania, Morocco, Nigeria,
Senegal, Sierra Leone, Somalia, Sudan, Tanzania, Tunisia, the United States,
United Kingdom, and Zimbabwe.

The individuals behind this network relied on a combination of authentic and fake accounts —
some of which had been previously detected and disabled by our automated systems — to
post in Groups, manage Pages, and drive people to off-platform sites. These accounts typically
had fake names common in the region they targeted. Some of these Pages merged with one
another over time and posed as local NGOs and independent news entities located in the
country they focused on. They sometimes repurposed Iranian state media content and posted
primarily in Arabic, Bengali, Bosnian, and English about geopolitical and local news relevant to
each region including topics like the civil war in Syria, the Arab Spring protests, the tensions
between Libya and Turkey, criticism of Saudi involvement in the Middle East and Africa, Al
Qaeda’s actions in Africa, the Occupy movement in the US, criticism of US policies in the
Middle East and the 2012 US elections.

Although the people behind this activity attempted to conceal their identities and coordination,
our investigation found links to the Islamic Republic of Iran Broadcasting Corporation. We
found this activity as part of our internal investigations into Iran-linked, suspected coordinated
inauthentic behavior​, which exhibited some links to the networks we had removed in​ ​August
2018​,​ ​January 2019​, and​ ​March 2019​.

    ●   Presence on Facebook and Instagram:​ 118 Pages, 389 Facebook accounts, 27 Groups,
        and 6 Instagram accounts



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   ●   Followers: A
                  ​ bout 318,000 accounts followed one or more of these Pages, around
       67,000 accounts joined one or more of these Groups, and about 135,000 people
       followed one of more of these Instagram accounts
   ●   Advertising:​ Around $1,600 in spending for ads on Facebook paid for primarily in US
       dollars, Euros and Canadian dollars.




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Below is a sample of the content posted by some of these Pages:


                                                     Page name:​ Middle East

                                                     Post: ​For the 3rd Friday in a row, men below
                                                     the age of 50 were not allowed to enter Al
                                                     Aqsa Mosque. For the 3rd Friday in a row, the
                                                     Israeli Forces prevented thousands of religion
                                                     practitioners below the age of 50 years from
                                                     arriving to perform Friday prayers at Al Aqsa
                                                     Mosque. Israeli Forces consisting of cavalry,
                                                     special units, border guards and police were
                                                     placed across streets of Jerusalem, with
                                                     barricades on the entry points for the old city
                                                     and the holy mosque. The forces checked IDs
                                                     of all men to confirm their age, sending home
                                                     those who were below the age of 50. The
                                                     community around pointed out that the Israeli
                                                     forces also prevented youngsters below the
                                                     age of 50 from performing Al Fajer prayers in
                                                     Al Aqsa Mosque.




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03
We removed 5 Pages, 20 Facebook accounts, and 6 Groups for​ ​coordinated
inauthentic behavior​ as part of a small domestic-focused network in the United
States.
The people behind this activity used fake accounts — some of which had already been detected and
disabled by our automated systems — to create fictitious personas, like and comment on their own
content making it appear more popular than it is, manage Pages and Groups, and evade detection
and enforcement. They frequently posted about news and topics including the upcoming presidential
election and candidates, the current US administration, anti-Semitic and anti-Asian conspiracies, and
COVID-19. While it did not appear to be the focus of this campaign, some of the individuals behind
this effort attempted to monetize their clickbait content by selling t-shirts and other merchandise.

We found this activity as part of our proactive investigations into suspected coordinated inauthentic
behavior in the US ahead of the 2020 election​. Although the people behind this operation attempted
to conceal their identities and coordination, our investigation found links to individuals associated
with QAnon, a network known to spread fringe conspiracy theories. We continue to monitor and will
take additional action if we see other violations of our Community Standards.

    ●   Presence on Facebook:​ 5 Pages, 20 accounts, and 6 Groups
    ●   Followers: ​About 133,000 accounts followed one or more of these Pages and about 30,000
        accounts joined one of more of these Groups
    ●   Advertising:​ Less than $1 in spending for ads on Facebook paid for in US dollars.




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Below is a sample of the content posted by some of these Pages:




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04
We removed 19 Pages, 15 Facebook accounts, and 1 Group engaged in
coordinated inauthentic behavior​ on our platform. This domestic-focused activity
originated in the United States.

The people behind this network used fake accounts to create fictitious personas, post in Groups,
manage Pages, drive traffic to off-platform sites, and evade enforcement. They frequently posted
about US news and topics including the US President, ideologies recognized as far-right, and
anti-immigration content. Most recently, this network shared COVID-19-related conspiracies and
hate speech about Asian Americans.

We found this activity as part of our proactive investigations into suspected coordinated inauthentic
behavior in the US ahead of the 2020 election​. Although the people behind this operation attempted
to conceal their coordination, our investigation linked this network to VDARE, a website known for
posting anti-immigration content, and to individuals associated with a similar website The Unz
Review. We continue to monitor and will take additional action if we see other violations of our
Community Standards.

   ●   Presence on Facebook:​ 19 Pages, 15 Facebook accounts, and 1 Group
   ●   Followers: ​About 207,700 accounts followed one or more of these Pages and about 20
       accounts joined this Group.
   ●   Advertising:​ Around $114,000 in spending for ads on Facebook paid for in US dollars.




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Below is a sample of the content posted by some of these Pages:




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05
We​ removed 11 ​P​ages, 75 Facebook accounts, and 90 Instagram accounts for
engaging in​ ​coordinated inauthentic behavior​. This network originated in
Mauritania and focused largely on domestic audiences.

The people behind this network used a combination of authentic, compromised and fake accounts —
some of which had gone through name changes and already been disabled by our automated
systems — to amplify their own content, manage Pages and post in Groups. The majority of
engagement on these Pages was generated by this network itself. They posted primarily in Arabic
and some in English and French about domestic and regional news and topics including the civil
wars in Libya and Yemen, criticism of Qatar, Turkey and Iran, Qatar’s treatment of migrant workers,
as well as support for the president of Mauritania and the United Arab Emirates. Most recently, this
network also posted about COVID-19 and various countries’ response to the pandemic.

We detected this operation as a result of our internal investigation into suspected coordinated
inauthentic behavior linked to the activity we had removed in​ ​August 2019​ and​ ​March 2020​.

    ●   Presence on Facebook and Instagram:​ 11 Pages, 75 accounts, and 90 Instagram accounts
    ●   Followers: ​About 62,500 accounts followed one or more of these Pages and less than
        25,000 people followed one or more of these Instagram accounts
    ●   Advertising:​ Less than $190 in spending for ads on Facebook and Instagram paid for in US
        dollars.




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Below is a sample of the content posted by some of these Pages:

                                                     Post​: T​hank you to the generous Emirates for
                                                     this valuable aid: 18 tons of medical and food
                                                     supplies to help us fight against the
                                                     coronavirus




                                                     Post: ​Mining company Snim, at the direction
                                                     of President Ghazouani, dedicates 813 million
                                                     for local development in Nouadhibou
                                                     #Accomplishments_of_the_Mauritanian_
                                                     nation




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                                                     Page name:​ Mauritania Events
                                                     Post: ​Under directives from President of the
                                                     Republic Mohammed Ould Al-Sheikh
                                                     Al-Ghazouani to fight the novel #coronavirus,
                                                     a program has started to distribute aid to poor
                                                     prisoners in #Nouakchott
                                                     #Mauritania_Fights_Coronavirus
                                                     #Mauritania_Events
                                                     Text over photo:​ Government measures to
                                                     distribute aid to poor prisoners in Nouakchott.




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06
We removed 3 Pages, 18 Facebook accounts, and 1 Group for violating our policy
against​ ​coordinated inauthentic behavior​. This domestic-focused activity
originated in Myanmar.

The individuals behind this network used fake and duplicate accounts to post in Groups and manage
P​ages posing as news entities. The ​P​age admins and account owners shared content primarily in
Burmese about local news and events such as the successes of the national police and military,
stories about police officers providing assistance to local families, arrests and police raids, criticism
of the Arakan Army and anti-Rohingya content. Most recently, some of these ​P​ages posted about
COVID-19. Although the people behind this activity attempted to conceal their identities and
coordination, our investigation found links to members of the Myanmar Police Force. We found this
activity as part of our internal investigation into suspected coordinated inauthentic behavior in the
region.

    ●     Presence on Facebook:​ 3 Pages, 18 accounts, and 1 Group.
    ●     Followers: ​About 19,000 accounts followed one or more of these Pages and around 30
          accounts followed this Group.
    ●     Advertising:​ Around $20 in spending for ads on Facebook paid for in US dollars.




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Below is a sample of the content posted by some of these Pages:

                                                     Post: ​19060 ecstasy pills and 6 grams of ICE,
                                                     worth of 481.3 Lakh seized at Tamwe

                                                     At 3:50 am on February 19, in front of No.5,
                                                     Basic Education High School, Natmauk Ward,
                                                     Tamwe Township, Yangon Division, the
                                                     inspection was conducted on Honda Accord
                                                     vehicle, driven by Aung Myint Myat (aka)
                                                     Aung Lay from 10 Ward and Mazda Demio
                                                     vehicle, driven by Nay Hein Lat (aka) Villa.
                                                     Altogether, a total of 19060 ecstasy pills
                                                     (worth of 476.5 Lakh) were seized, in break
                                                     down, from the vehicle driven by Aung Myint
                                                     Myat (aka) Aung Lay, there were 2 swords
                                                     which at the length of 2 by 8 inch and 1 inch
                                                     respectively, 6 g of ICE under white bag under
                                                     the back seat (worth 4.8 lakh), 19000 WY
                                                     ecstasy pills, 44 plastic pipce, 1 phone; from
                                                     the vehicle driven by Nay Hein Lat (aka) Villa,
                                                     60 WY ecstasy pills in plastic bags. From
                                                     investigation on Aung Myint Myat (aka) Aung
                                                     Lay regarding the drugs, it is stated that 10
                                                     days ago, he bought from Saw Naung who he
                                                     met near 44th mile at Yangon-Mandalay
                                                     highway. For Hein Lat (aka) Villa, he bought
                                                     from Aung Myint Myat (aka) Aunglay to
                                                     consume and sell.

                                                     Two of them have been charged under the
                                                     Narcotics and Psychotropic Stances Act at
                                                     Tamwe police station and are trying to surface
                                                     and arrest their links.




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07
We removed 511 Pages, 101 Facebook accounts, and 122 Groups and 56
Instagram accounts for violating our policy against​ ​coordinated inauthentic
behavior​. This domestic-focused activity originated in Georgia.

The individuals behind this activity used fake accounts — some of which had been previously
detected and disabled by our automated systems — to create fictitious personas, impersonate
opposition leaders and local health officials, manage Groups and Pages, and make their content
appear more popular that it is. Some of these Groups went through name and admin changes over
time and appear to have been purchased. The people behind this network also ran Pages designed
to look like user profiles — using false names and stock profile images — to post and amplify their
content, as well as to avoid detection and removal. Some of these Pages posed as independent
news outlets. The Page admins and account owners typically posted about domestic news and
political issues such as elections, government policies and officials, as well as criticism of the
opposition, journalists and local activists. Most recently, this network shared some content about
COVID-19, including posts which was removed for violating our policies against harmful health
misinformation.

Although the people behind this operation attempted to conceal their identities, our investigation
linked them to Espersona, a media firm in Georgia. This organization is now banned from our
platforms. We found this activity as part of our investigation into suspected coordinated inauthentic
behavior publicly reported by a local fact-checking organization in Georgia with some links to the
network we took down in​ ​December 2019​.

    ●   Presence on Facebook:​ 511 Pages, 101 Facebook accounts, and 122 Groups and 56
        Instagram accounts
    ●   Followers: ​About 973,000 accounts followed one or more of these Pages, around 1,508, 000
        accounts followed one or more of these Groups, and about 26,000 people followed one or
        more of these Instagram accounts.
    ●   Advertising:​ Around $30,000 in spending for ads on Facebook paid for in US dollars.




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Below is a sample of the content posted by some of these ​P​ages:

                                                     Post: ​I go crazy about Gakharia’s facial
                                                     expressions

                                                     Text over image:​ Do you like Gakharia:
                                                     Yes/No




                                                     Post: ​We are one team




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                                                     Post: ​He is killing Corona




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08
Finally we removed 23 Facebook accounts, 80 Pages, 41 Groups, and 9 Instagram
accounts for engaging in​ ​coordinated inauthentic behavior​. This
domestic-focused activity originated in Georgia.

The individuals behind this activity used a combination of authentic and fake accounts to comment
on content, evade detection and removal, and manage Groups and ​P​ages — some of which posed
as news entities. They frequently posted about local news and political topics like the 2018 Georgian
elections and candidates, Georgian Orthodox Church, criticism of the ruling party and the
government’s handling of the coronavirus pandemic. Many of these ​P​ages have not been active
since 2018.

Although the people behind this campaign attempted to conceal their identities, our investigation
linked this network to individuals associated with United National Movement, a political party in
Georgia. We found this activity as part of our investigation into suspected coordinated inauthentic
behavior in the region. Our assessment benefited from local public reporting in Georgia.

   ●   Presence on Facebook:​ 23 Facebook accounts, 80 ​P​ages, 41 Groups, and 9 Instagram
       accounts
   ●   Followers: ​About 785,000 accounts followed one or more of these ​P​ages, around 6,300
       accounts followed one or more of these Groups, and around 6,400 people followed one of
       more of these Instagram accounts
   ●   Advertising:​ Around $23,800 in spending for ads on Facebook paid for primarily in US dollars
   ●   Events:​ 22 events were hosted by these accounts and ​P​ages. Up to 11,600 people
       expressed interest in at least one of these events. We cannot confirm whether any of these
       events actually occurred.




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Below is a sample of the content posted by some of these Pages:




                                                     Translation:

                                                     Page name: ​Official agency of making fun of
                                                     Georgian dreamers

                                                     Post:​ Is it possible that angry people attacked
                                                     these murderers and Russian agents?




                                                     Page name: ​Patriarchate's gang of black
                                                     hundreds

                                                     Text in image: ​What I requested / What
                                                     arrived




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                                                     Page name: ​Stop Bidzina

                                                     Text in image:​ Profane cursing at the
                                                     member of Georgian dream




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